   Case: 3:20-cv-00249-wmc Document #: 429 Filed: 07/13/20 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


DEMOCRATIC NATIONAL COMMITTEE, et
al.,

             Plaintiffs,
                                              20-cv-249-wmc
       v.
MARGE BOSTELMANN, et al.,

             Defendants,

       and

WISCONSIN LEGISLATURE, REPUBLICAN
NATIONAL COMMITTEE, AND
REPUBLICAN PARTY OF WISCONSIN,

             Intervening-Defendants.


SYLVIA GEAR, et al.,

             Plaintiffs,

        v.                                    20-cv-278-wmc

MARGE BOSTELMANN, et al.,

             Defendants,

       and

WISCONSIN LEGISLATURE, REPUBLICAN
NATIONAL COMMITTEE, AND
REPUBLICAN PARTY OF WISCONSIN,

             Intervening-Defendants.


CHRYSTAL EDWARDS, et al.,

             Plaintiffs,
     Case: 3:20-cv-00249-wmc Document #: 429 Filed: 07/13/20 Page 2 of 5




         v.                                              20-cv-340-wmc

 ROBIN VOS, et al.,

               Defendants,

         and

 REPUBLICAN NATIONAL COMMITTEE,
 AND REPUBLICAN PARTY OF WISCONSIN,

               Intervening-Defendants.


 JILL SWENSON, et al.,

               Plaintiffs,

         v.                                              20-cv-459-wmc

 MARGE BOSTELMANN, et al.,

               Defendants,

         and

 WISCONSIN LEGISLATURE, REPUBLICAN
 NATIONAL COMMITTEE, AND
 REPUBLICAN PARTY OF WISCONSIN,

               Intervening-Defendants.



           STIPULATION AND [PROPOSED] ORDER REGARDING DISCOVERY DISPUTE




       Plaintiffs Jill Swenson, Melody Mccurtis, Maria Nelson, Black Leaders Organizing for

Communities, Disability Rights Wisconsin (collectively, "Plaintiffs" or "Swenson Plaintiffs")

and Defendants Marge Bostelmann, Julie M. Glancey, Ann S. Jacobs, Dean Knudson, Robert F.

Spindell, Jr., and Mark L. Thomsen, in their official capacities as members of the Wisconsin

                                               2
     Case: 3:20-cv-00249-wmc Document #: 429 Filed: 07/13/20 Page 3 of 5




Elections Commission, and Wisconsin Elections Commission; Meagan Wolfe, in her official

capacity as Administrator of the Wisconsin Elections Commission (collectively, "Defendants"

and, together with the Swenson Plaintiffs, the "Parties"), hereby stipulate and agree as follows:

       WHEREAS, on July 6, 2020, Plaintiffs served their First Set of Requests for Production

of Documents ("Requests") on Defendants;

       WHEREAS, on July 7, 2020, Defendants requested to meet and confer regarding the

scope of the Requests;

       WHEREAS, on July 7 and 8, the Parties met and conferred;

       WHEREAS, on July 9, 2020, Plaintiffs provided a written proposal to Defendants,

significantly narrowing their Requests;

       WHEREAS, on July 10, 2020, Defendants rejected Plaintiffs' proposal and filed an

emergency motion with the Court;

       WHEREAS, following a conversation with the Court on July 10, 2020, the Parties further

met and conferred through the weekend, with the Parties having reached the following

agreement:

1.     Request Nos. 1-2: Certain aspects of these Requests overlap with Request Nos. 4-5

served by the Edwards Plaintiffs. The Swenson Plaintiffs and the Edwards Plaintiffs coordinated

in the interests of efficiency and economy, with the Swenson Plaintiffs agreeing to the

compromise agreement reached by the Edwards Plaintiffs with the Defendants. As to the

balance of these Requests, the Defendants have agreed to identify in good faith the two senior

WEC personnel most likely to have responsive documents for each of four agreed-upon topics

and, for each such custodian, Defendants will run agreed-upon search terms across those

custodians' email accounts using the "Advanced Find" feature in Outlook, as described in



                                                3
     Case: 3:20-cv-00249-wmc Document #: 429 Filed: 07/13/20 Page 4 of 5




Plaintiffs' July 9, 2020 email. Defendants agree to communicate with Plaintiffs to troubleshoot

and/or work in good faith to refine searches if necessary, also as described in Plaintiffs July 9,

2020 email. Plaintiffs reserve the right to discuss the identified custodians with Defendants.

2.     Request Nos. 3-4. In lieu of producing documents responsive to Request Nos. 3-4, the

WEC's 30(b)(6) witness, Administrator Meagan Wolfe, will provide certain agreed-upon

deposition testimony, as described in the Parties' July 11-12, 2020 emails. Plaintiffs reserve the

right to seek documents from Defendants in the event Administrator Wolfe's testimony alters or

deviates from that to which the parties agreed. Plaintiffs also reserve the right to ask follow up

questions of Administrator Wolfe.

3.     Request Nos. 5-6. Defendants agree to produce responsive documents.

4.     Request No. 7. Defendants agreed to produce analyses of voter turnout in the April 7,

2020 election, analyses of anticipated voter turnout in the November 3, 2020 election, analyses

of any of the relief requests by the Swenson Plaintiffs, and documents related to guidance the

WEC intends to issue or considered issuing to local election officials in light of the pandemic, to

the extent such documents are not available on the Defendants' publicly accessible website.

5.     Request No. 8. Defendants have agreed to produce responsive documents.

6.     Timing. Defendants agree to work in good faith to produce documents on a rolling basis

and commit to completing its productions by July 23, 2020.

7.     Reservation of Rights. Plaintiffs reserve their rights to seek additional documents and

information to the extent they determine in good faith that such documents and information are

necessary. Defendants similarly reserve their rights to argue in good faith that such additional

documents and information are not warranted and burdensome. Nothing herein is intended as a

waiver of any privilege protected by law.



                                                  4
    Case: 3:20-cv-00249-wmc Document #: 429 Filed: 07/13/20 Page 5 of 5
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DATED: July 13, 2020                   O'MELVENY & MYERS LLP


                                      By: Isl Molly M Lens
                                          Molly M. Lens

                                      Attorneys for Plaintiffs

DATED: July 13, 2020                  LAWTON & CA TES, S.C.


                                      By: Isl Daniel S. Lenz
                                          Daniel S. Lenz

                                      Attorneys for Defendants



                                  [PROPOSfiiBi ORDER

      The Court, having reviewed the Parties' Stipulation and [Proposed] Order Regarding

Discovery Dispute, hereby GRANTS the stipulation.




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